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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division
Case Number: 18-60574-CIV-MORENO
ROSE CHARLAP,

Plaintiff,

VS.

PNC BANK, N.A., and PNC INVESTMENTS,
LLC,

Defendant.
/

FINAL ORDER OF DISMISSAL AND ORDER
DENYING ALL PENDING MOTIONS AS MOOT

THIS CAUSE came before the Court upon the Defendants’ Motion to Consolidate (D.E
19), filed on October 12, 2018.

THE COURT has considered the pertinent portions of the record, and is otherwise fully
advised in the premises. On May 10, 2018, the Court received notice that Plaintiff passed away.
(D.E. 15.) On August 8, 2018, the Court granted Plaintiff's Motion to Extend Deadline to
Substitute and stayed the case until a personal representative for the Plaintiffs estate was
appointed. (D.E. 18.) Defendants’ instant motion informs the Court the personal representative
for the Plaintiff in the underlying action filed a nearly identical complaint against the same
Defendants, and that case is currently pending before the Honorable Jose E. Martinez (Case
Number 18-cv-22974-JEM). According, it is

ADJUDGED that the Defendants’ Motion is DENIED and this Cause is DISMISSED

without prejudice, with each party bearing its own fees and costs. See Fed. R. Civ. P.
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41(a)(1)(A)(i). Further, all pending motions are DENIED as MOOT with leave to renew if
appropriate.

DONE AND ORDERED in Chambers at Miami, Florida, this / of October 2018.

 

  

D STATES DISTRICT JUDGE
Copies furnished to:

Counsel of Record
